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                       Exhibit E
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From:            Johnson, Mark P.
To:              Parker, Stanley
Cc:              Depew, Dennis; Dale Ho; Sophia Lakin; Woods, Curtis E.; Mark Emert; Sharon Brett; Liu, Angela; Willoughby, M
                 J.; Deckard, Connie; Steiner, Neil
Subject:         RE: Fee Issues
Date:            Wednesday, February 10, 2021 11:05:50 AM
Attachments:     image001.png




Stan,

Thanks for your message. On behalf of plaintiffs’ counsel in both cases, we understand and
appreciate your need for some additional time and are willing to consent to a short extension.
However, putting off our conference for an uncertain amount of time beyond this month is not
acceptable to us. We have offered to meet since December 29, 2020; we then agreed to meet on
February 8 but you were not prepared to confer with us on the date and tried to reschedule it for
February 26, more than two weeks after your opposition would be due under the current schedule
and at the very end of the 30 day meet-and-confer period under the local rules. By now, nearly two
weeks after our motion was filed, you should at least be able to give us a date by which you can
meaningfully confer with us about our fee petitions. It is disappointing that you have not done so,
and do not appear to be in a position to do so any time soon.

Nevertheless, in light of your representations that you need additional time, we can agree to a two-
week extension of the State’s Opposition to our fee petitions, to February 25, 2021, provided that
you are able to schedule a firm date and time to meet and confer with us on or before February 19,
2021. We are available on February 17 beginning at 2p Central time, and if that afternoon is not
convenient will do our best to accommodate a different time that works with your schedule.
Naturally, if we are making progress towards an amicable resolution of the fee issue through the
meet and confer process, we will entertain requests for further extensions as appropriate.

Finally, with respect to your note that you object to some of time entries with respect to contempt
proceedings in the Fish case, in advance of our meet-and-confer, please identify which specific
contempt-related that you object to, as well as any others. It will be most productive if you are able
to identify any specific entries in either case to which you object at least two days prior to the meet-
and-confer so that we can review and discuss with you at that conference.

Best,

Mark


                  Mark P. Johnson

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                  Rattagan Macchiavello Arocena > Jiménez de Aréchaga, Viana & Brause > Lee
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From: Parker, Stanley <Stanley.Parker@ag.ks.gov>
Sent: Tuesday, February 09, 2021 4:27 PM
To: Johnson, Mark P. <mark.johnson@dentons.com>
Cc: Depew, Dennis <Dennis.Depew@ag.ks.gov>; Dale Ho (dho@aclu.org) <dho@aclu.org>; Sophia
Lakin <slakin@aclu.org>; Woods, Curtis E. <curtis.woods@dentons.com>; Mark Emert
<memert@faganemert.com>; Sharon Brett <sbrett@aclukansas.org>; Liu, Angela
<Angela.Liu@dechert.com>; Willoughby, M J. <MJ.Willoughby@ag.ks.gov>; Deckard, Connie
<Connie.Deckard@ag.ks.gov>
Subject: RE: Fee Issues



[External Sender]

Mark,

Presently there is only one person in the Office of the Secretary Of State who had any substantial
involvement in the trial. Their plate was already overflowing before this came in. They will complete
their review and analysis as quickly as possible. However, given their present workload, they do not
expect to be done before the end of month. I have not yet received a response from the Office of
the Solicitor General.

Thanks,
Stan

Stanley R. Parker
Assistant Attorney General/Trial Counsel
Civil Litigation Division
Complex Tort Defense Unit
Office of Kansas Attorney General Derek Schmidt
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From: Johnson, Mark P. <mark.johnson@dentons.com>
Sent: Monday, February 8, 2021 2:55 PM
To: Parker, Stanley <Stanley.Parker@ag.ks.gov>
Cc: Depew, Dennis <Dennis.Depew@ag.ks.gov>; Dale Ho (dho@aclu.org) <dho@aclu.org>; Sophia
Lakin <slakin@aclu.org>; Woods, Curtis E. <curtis.woods@dentons.com>; Mark Emert
<memert@faganemert.com>; Sharon Brett <sbrett@aclukansas.org>; Liu, Angela
<Angela.Liu@dechert.com>
Subject: Fee Issues

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Kansas organization. Do not click links or open attachments unless you recognize the sender
and know the content is safe.

Dear Stan: to make sure we’re all on the same page: you will be consulting today with the offices of
the Solicitor General and the Secretary of State to determine the status of their review of the fee
requests.

You said you would contact us by 5 pm tomorrow as the status of review of the fee requests by
those Offices and the AG’s office..

Mark


                        Mark P. Johnson

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                        commitment that Dentons, the world’s largest law firm, is making across 75+
                        countries, to address accelerating change resulting from the pandemic.
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